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              IN THE UNITED STATES DISTRICT COURT
            FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

 A.H., a minor, by and through her
 natural parent and guardian, ROBERT        NO. 3:18-CV-0485
 HUNT,
      Plaintiff,                            (JUDGE CAPUTO)

             v.
 THE WENDY’S COMPANY,
 WENDY’S RESTAURANTS, LLC,
 WENDY’S INTERNATIONAL, LLC,
 QUALITY IS OUR RECIPE, LLC,
 QUALITY SERVED FAST, INC., and
 MICHAEL LAMBERT,
      Defendants.
                                  ORDER
     NOW, this 22nd day of August, 2018, IT IS HEREBY ORDERED that the
Motion to Dismiss Amended Complaint Under Rule 12(b)(6) (Doc. 20) filed by the
Wendy’s Company, Wendy’s Restaurants, LLC, Wendy’s International, LLC, and
Quality Is Our Recipe, LLC is DENIED.


                                            /s/ A. Richard Caputo
                                            A. Richard Caputo
                                            United States District Judge
